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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MARYLAND
                                     Greenbelt Division

Kilmar Armando Abrego Garcia, et al.,

                        Plaintiffs,

v.                                                     Case No.: 8:25-CV-00951-PX

Kristi Noem, et al.,

                        Defendants.


 Plaintiffs’ Opposition To Defendants’ Interim Motion To Seal Defendants’ Ex Parte Notice

       The Government has moved to file under seal three documents: (1) a “Notice of Ex Parte

Communication,” (2) “Secretary Rubio’s Supplemental Declaration,” and (3) an “Ex Parte

Addendum.” ECF No. 156 at 1. Plaintiffs have seen the first two; the third was filed ex parte.

       The Court should deny the motion. Open courts are the rule; sealing is the exception.

Company Doe v. Pub. Citizen, 749 F.3d 246, 265–73 (4th Cir. 2014). The Government has not

carried its burden of showing that the three documents at issue should remain sealed.

       Local Rule 105.11 and this Court’s orders require a motion to seal to include two things:

“(1) proposed reasons supported by specific factual representations that justify sealing, and (2) an

explanation of why alternatives to sealing, such as redaction, would be inadequate.” ECF No. 115

¶ 5. The Government’s motion supplies neither. Instead, it proposes two inadequate reasons for

maintaining the seal.

       First, the Government notes that it designated the documents under the Stipulated

Confidentiality Order. ECF No. 156 at 2. But that Order requires only that the parties file the

materials under seal, not that the Court keep them sealed. See ECF No. 95 ¶ 2; Aarow Elec. Sols.

v. Tricore Sys., LLC, 2024 WL 4392796, at *1 (D. Md. Oct. 2, 2024) (“[W]hile the Protective Order



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may require that certain documents be filed under seal, the Court is under no obligation to maintain

those documents under seal.”). “A protective order . . . is not sufficient, by itself, to justify the

continued sealing of filings in court.” Visual Min., Inc. v. Ziegler, 2014 WL 690905, at *5 (D. Md.

Mar. 4, 2014) (citations omitted). That is because “[c]haracterizing documents as ‘confidential’

without any description of what information they contain or why that information should be

protected does not satisfy the ‘specific factual representations’ that Local Rule 105.11 requires.”

Smith v. Integral Consulting Servs., 2016 WL 4492708, at *16 (D. Md. Aug. 26, 2016) (citations

omitted). A sealing motion must “address why—separate from the Protective Order—the

documents should be maintained by the Court under seal.” Aarow, 2024 WL 4392796, at *1.

       Second, the Government says that “[p]ublicly disclosing that sensitive information would

likely harm ongoing diplomatic negotiations.” ECF No. 156 at 2. But the Government makes no

specific factual representations in support of its conclusory rhetoric, nor does it explain how the

Notice of Ex Parte Communication, Secretary Rubio’s Supplemental Declaration, or the Ex Parte

Addendum pertains to “ongoing diplomatic negotiations,” or how public disclosure of each

document would “likely harm” those supposed negotiations. Sealing is not justified where—as

here—the movant “offer[s] nothing more than conclusory assertions.” Hudson Ins. Co. v. Dollar

Tree Stores, Inc., 2024 WL 4108567, at *2 (D. Md. Sept. 6, 2024) (collecting cases); see also In re

Washington Post Co., 807 F.2d 383, 391–93 (4th Cir. 1986) (holding that the standard for sealing

applies equally in cases where national security concerns are present).

       The Government has also failed to explain “why alternatives to sealing, such as redaction,

would be inadequate.” ECF No. 115 ¶ 5. Indeed, the Government’s motion does not even mention

redactions or other alternatives, let alone explain why they would not suffice. See ECF No. 156. A




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party that “has made no attempt to redact” cannot justify sealing entire documents. Schrof v. Clean

Earth, Inc., 2025 WL 958593, at *3 (D. Md. Mar. 31, 2025) (collecting cases).

       The Court should put an end to the Government’s unsubstantiated sealing requests. This is

not a one-off problem. Time and again, the Government has stamped papers “Confidential,”

demanded that they be sealed, and then failed to justify sealing. The Government has forced

Plaintiffs to file under seal many documents that the Government designated confidential; in each

sealing motion, Plaintiffs stated that they “rely” on the Government to supply the justification for

sealing, yet the Government has never bothered to do so. See ECF Nos. 118, 130, 142, 144, 154.

Indeed, the Government failed to file a motion to seal even when ordered to do so. See ECF No.

115 ¶ 5 (ordering “proponent of sealing” to “file the motion to seal by not later than Friday, May

9, 2025,” which the Government did not do). And even when the Government has filed motions to

seal, they are as boilerplate and inadequate as the one at issue here. See ECF Nos. 127, 138.

       The Government’s misuse of the sealing process is epitomized by Secretary Rubio’s first

declaration. ECF No. 112-5. The Government insisted that Plaintiffs file it under seal, yet the

Government never filed the required motion to seal by May 9, see ECF No. 115 ¶ 5, and at the

hearing on May 16, the Government swiftly conceded under the Court’s questioning that it could

be unsealed, which the Court ordered. ECF No. 146 ¶ 1. Plaintiffs have scrutinized both the Notice

of Ex Parte Communication and Secretary Rubio’s Supplemental Declaration and do not see how

either satisfies the sealing standard any more than Secretary Rubio’s first declaration. While

Plaintiffs are unable to review the Ex Parte Addendum, the Government has not explained why it

is any worthier of being sealed.

       Earlier this month, the Court warned that, “[g]oing forward, any filing submitted under seal

without a compliant motion to seal will be stricken.” ECF No. 115 ¶ 5. Because the Government




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has failed to provide “specific factual representations that justify sealing” and “an explanation of

why alternatives to sealing, such as redaction, would be inadequate,” the Court should deny the

motion and either make the three documents public or strike them from the docket. Id.

       And because the Government is engaging in ongoing abuse of the sealing process, the

Court should admonish the Government not to file—and not to insist that Plaintiffs file—any other

document under seal unless the Government is prepared, upon pain of sanctions, to fully justify

sealing that document. See Williams v. Estates LLC, 2021 WL 6202726, at *1 (M.D.N.C. Oct. 20,

2021) (warning defendants “that if they again claim exhibits as confidential and then fail to support

those claims with evidence, the Court will sua sponte consider sanctions”).

                                          *      *       *

       At a minimum, if the Court allows these materials to be filed under seal, it should order the

Government to provide the Ex Parte Addendum to Plaintiffs. “[A]s a general rule, ex parte

communications by an adversary party to a decisionmaker in an adjudicatory proceeding are

prohibited as fundamentally at variance with our conceptions of due process.” RZS Holdings AVV

v. PDVSA Petroleo S.A., 506 F.3d 350, 357 (4th Cir. 2007) (citations omitted). If they occur, “the

district court should endeavor to disclose, as appropriate, the ex parte communication to the parties

as soon as possible.” United States v. Lanier, 748 F. App’x 674, 678 (6th Cir. 2018); see Code of

Conduct of United States Judges, Canon 3(A)(4). To be clear, Plaintiffs oppose any ex parte

submissions by the Government to the Court.

       Earlier in this case, the Government represented to the Court and to Plaintiffs that ex parte

filings and secrecy were essential to achieve the outcome Plaintiffs seek—namely, the return of

Kilmar Abrego Garcia to the United States. Cf. ECF No. 151 at 3 (Government arguing that

“disclosure might adversely affect the outcome of the case”). April and May have come and gone




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since the Government illegally removed Abrego Garcia to El Salvador. This Court first ordered the

Government to facilitate his return on April 4, ECF No. 21, and the Supreme Court affirmed the

facilitation order on April 10, Noem v. Abrego Garcia, 145 S. Ct. 1017 (2025). Yet there he remains.

To date, the Government has produced no evidence that it has lifted a finger to facilitate Abrego

Garcia’s return. It appears to Plaintiffs that the Government is not—and perhaps never was—

seeking in good faith to facilitate Abrego Garcia’s prompt return to the United States.1 Instead, the

Government seeks to obfuscate and delay, including by misusing sealing procedures and ex parte

filings to string out this case and deny Plaintiffs’ counsel and the public access to critical court

submissions.

       There are rare instances where courts permit ex parte filings. Classified materials, for

example, may sometimes be submitted ex parte. Cf. Abilt v. CIA, 848 F.3d 305, 310, 314 (4th Cir.

2017) (affirming state secrets privilege based in part on a classified declaration submitted ex parte).

But the Government does not assert that the Ex Parte Addendum is classified. See ECF No. 156.

Moreover, the Government has approved several counsel representing Plaintiffs—including K.

McKenzie Anderson, Stephen Frank, and Samuel Nitze, all of whom hold active security

clearances—to review classified materials in this case, if any arise. To date, the Government has

indicated that there are no classified materials to be reviewed by cleared counsel. But even if the




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  The New York Times recently reported on various DHS documents pertaining to Abrego Garcia,
including one in which DHS’s acting general counsel, Joseph Mazzara (who has submitted
declarations and been deposed in this case), stated: “We’re also trying to keep him where he is.”
See Hamed Aleaziz & Alan Feurer, How Trump Officials Debated Handling of the Abrego Garcia
Case:      ‘Keep     Him       Where    He     Is’,    N.Y.    Times       (May    21,     2025),
https://www.nytimes.com/2025/05/21/us/politics/trump-abrego-garcia-el-salvador-
deportation.html. Mazzara also “told his colleagues that Kristi Noem, the homeland security
secretary, had taken steps to seek Mr. Abrego’s segregation from other inmates” while detained in
El Salvador. Id. The Government has not produced these documents to Plaintiffs.


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Addendum were classified, that should not prevent Plaintiffs’ counsel with active security

clearances from accessing the document.

       Courts also may test the validity of evidentiary privileges through “in camera and ex parte

proceedings before the court ‘for the limited purpose of determining whether the asserted privilege

is genuinely applicable.’” United States v. Abu Ali, 528 F.3d 210, 245 (4th Cir. 2008) (quoting

Abourezk v. Reagan, 785 F.2d 1043, 1061 (D.C. Cir. 1986)). “As a general rule, ‘[i]f the court finds

that the claimed privilege does not apply, then the other side must be given access to the

information.’” Id. (quoting Abourezk, 785 F.2d at 1061).

       The Government indicates that its filings here “support the State Department’s assertion of

the state secrets privilege,” ECF No. 156 at 2, but they do not even contend that the filings

themselves contain state secrets. In any event, the Government has not carried its burden of

showing that the state secrets privilege applies here. See ECF Nos. 128 & 129. If the state secrets

privilege does not apply, then Plaintiffs “must be given access to the information.” Abu Ali, 528

F.3d at 245 (citation omitted).

       Plaintiffs recognize that the Court is still evaluating the applicability of the state secrets

privilege. Yesterday, the Court requested that certain amici address “[t]he application of the state

secrets privilege in the context of diplomatic communications and foreign relations.” ECF No. 158

at 2. If it would assist the Court, Plaintiffs would welcome the opportunity to submit supplemental

briefing on that issue (or any other). In particular, Plaintiffs would expand on three points:

              First, nearly all state secrets cases concern military or intelligence secrets. See ECF
               Nos. 128 & 129 at 13–14 (collecting cases). Even cases that refer to diplomatic
               communications or foreign relations almost always do so to protect military or
               intelligence secrets. E.g., Sigler v. Le Van, 485 F. Supp. 185, 192–94 (D. Md. 1980)
               (sustaining privilege to protect “international relations” where documents at issue
               concerned foreign intelligence operatives and U.S. counterintelligence activities).




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             Second, aside from military and intelligence secrets, courts have sustained the
              privilege only for “extremely sensitive foreign policy questions.” Compagnie
              Francaise d’Assurance Pour le Commerce Exterieur v. Phillips Petroleum Co., 105
              F.R.D. 16, 25 (S.D.N.Y. 1984). Diplomatic communications about recognition of
              Communist China qualify, whereas diplomatic communications about international
              trade typically do not. See ECF Nos. 128 & 129 at 14–15 (collecting cases).

             Third, the Government has not cited—and Plaintiffs have not found—any case
              analogous to this one in which the Government successfully asserted state secrets
              privilege. No case holds that the privilege shields from disclosure the Government’s
              efforts (including via diplomatic communications) to comply with (or violate) a
              court order, especially when that order has been affirmed by the Supreme Court and
              pertains to the return of only a single individual illegally removed from the country,
              rather than to a major foreign policy question. See ECF Nos. 128 & 129 at 15–16.

                                        *       *       *

       For these reasons, the Court should deny the Government’s motion to seal and either make

the documents public or strike them from the docket. Alternatively, the Court should order the

Government to provide the Ex Parte Addendum to Plaintiffs.




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Dated: May 28, 2025

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